Case
MIE        2:21-cr-20762-DPH-KGA
    (Rev. 9/09) Order Re: Disqualification of Judge   ECF No. 29, PageID.203 Filed 05/31/22 Page 1 of 1



                                                UNITED STATES DISTRICT COURT
                                                EASTERN DISTRICT OF MICHIGAN


United States of America,

                      Plaintiff(s),                                   Case No. 21-20762

v.                                                                    Honorable Sean F. Cox

Michael James Cobbledick,


                      Defendant(s).
                                                               /

                                          ORDER RE: DISQUALIFICATION OF JUDGE

           Pursuant to 28 U.S.C. § 455, I hereby DISQUALIFY myself from the above-styled case.

           IT IS ORDERED that in accordance with E.D. Mich. LCrR 57.10(c), this case be reassigned by blind draw

to another judge of this court.


Date: May 31, 2022                                                    s/Sean F. Cox
                                                                      Sean F. Cox
                                                                      U.S. District Judge




       Pursuant to this order, this case is reassigned to Judge Denise Page Hood                                  .
Case assignment credit will be given to the appropriate Judicial Officers.


                                                        Certificate of Service

        I hereby certify that on this date a copy of the foregoing Order was served upon the parties and/or counsel
of record herein by electronic means or first class U.S. mail.


Date: May 31, 2022                                                   s/ S Schoenherr
                                                                             Deputy Clerk
